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                                                          U.S. DEPARTMENT OF JUSTICE
                                                          Federal Bureau of Prisons
                                                          Metropolitan
                                                                 \     Detention Center


                                                            80 29h Street
                                                            Brooklyn, New York 11232



                                                                                                         12/7/20
                                                             December 4, 2020


The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007


      Re:     United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)
              Ghislaine Maxwell, Reg. No. 02879-509


Dear Judge Nathan:


    This letter is written in response to your order dated December 2, 2020, concerning Ghislaine
Maxwell, Reg. 02879-509., an inmate currently confined at the Metropolitan Detention center in Brooklyn,
New York. You expressed various concerns regarding Ms. Maxwell’s confinement and well-being.

       The Bureau of Prisons’ (BOP) policies and procedures are designed to ensure staff and inmates can
work and live in a safe and secure environment. In determining Ms. Maxwell’s current housing
assignment, MDC Brooklyn considered various factors including Ms. Maxwell’s expressed concern for
her safety and well-being amongst the general inmate population. We have discussed our decision with
Ms. Maxwell several times and provided her with guidance as to how to address any concerns through
her Unit Team or the BOP’s Administrative Remedy Program, 28 C.F.R. §§ 542.10 – 542.19. To date,
staff have addressed her complaints in accordance with BOP policies.

      In her current assignment, Ms. Maxwell, like other inmates housed at MDC Brooklyn, is allowed
access to the common area of the housing unit from 7:00 AM through 8:00 PM, daily. She has access to
recreational space, social calls, television, shower, legal telephone calls, email, computers, and discovery
material. A discovery laptop is available to her from 8:00 AM through 5:00 PM. When Ms. Maxwell
returns to her cell at 8:00 PM, like other inmates she has access to drinking water, snacks she purchased
through the commissary, and discovery material. Since August 3, 2020, Ms. Maxwell has been able to
purchase items from the full commissary list. She receives commissary every second week like all other
inmates.

      MDC Brooklyn correctional staff utilize flashlights when viewing inmate cells overnight to ensure
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inmates are breathing and not in distress. Inmates in BOP custody are subject to searches, including
body scanners, and inmates may be searched prior to moving from one area of the facility to another.
The removal of Ms. Maxwell’s face mask complies with the BOP’s COVID-19 Pandemic Response Plan.

       Since Ms. Maxwell’s arrival, she has been provided three (3) meals a day in accordance with BOP
policy and its National Menu. Food Service staff have addressed Ms. Maxwell’s requests. Ms. Maxwell is
served her breakfast upon entering the common area of the housing unit at 7:00 AM; at noon she is
served her lunch; and at 5:00 PM she is served dinner. Her medical records show that she currently
weighs 134 lbs., which fluctuates plus or minus 2 lbs. Health Services staff make regular rounds of her
housing unit and she has been instructed on how to request medical care through the sick call
procedures. Furthermore, while there has been a number of inmates whom have tested positive for
COVID-19, Ms. Maxwell remains in good health and is not in contact with those individuals. The BOP
staff is assigned to Ms. Maxwell’s unit do not come in contact with the other individuals whom have
tested positive. Lastly, the temperature of Ms. Maxwell’s cell is checked three times daily to ensure it is
in compliance with national standards.

      In accordance with the BOP’s COVID-19 Pandemic Response Plan, inmates are allotted 500
minutes per month of social telephone calls, which Ms. Maxwell has used throughout her time at MDC
Brooklyn. While Ms. Maxwell has received one legal video conference, she continues to have full access
to legal telephone calls and in person legal visits. Pursuant to the District Courts guidance, legal
telephone calls are scheduled through the Federal Defenders, who should be afforded an opportunity to
address any concerns Ms. Maxwell’s attorneys have with the legal calls.

     I trust this has addressed your concerns.


Respectfully submitted,



/s/ Sophia Papapetru

Sophia Papapetru
Staff Attorney
MDC Brooklyn
Federal Bureau of Prisons



/s/ John Wallace

John Wallace
Staff Attorney
MDC Brooklyn
Federal Bureau of Prisons
